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  IT IS ORDERED as set forth below:



  Date: May 26, 2017                      ___________________________

                                                    W. Homer Drake
                                              U.S. Bankruptcy Court Judge
  _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            NEWNAN DIVISION

IN THE MATTER OF:                     :      CASE NUMBER
                                      :
DONNA FAYE GOOLSBY,                   :      14-12461-WHD
                                      :
                                      :      IN PROCEEDINGS UNDER
                                      :      CHAPTER 7 OF THE
      Debtors.                        :      BANKRUPTCY CODE

                                          ORDER

      Two matters are currently before the Court concerning the above-styled

bankruptcy case: The Trustee’s Final Report and Application for Compensation

(Doc. No. 68), and the Trustee’s Request for Sanctions, which was included within

the Trustee’s Response to Debtor’s Objection to the Trustee’s Proposed Distribution

(Doc. No. 76).
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                                    Background

      The Debtor filed the instant case on October 31, 2014, and James G. Baker

(hereinafter the “Trustee”) was appointed trustee for the Debtor’s bankruptcy estate.

In the course of the case, the Trustee was able to recover $50,000 for the estate.

Those funds were the proceeds of a settlement agreement between the Trustee and

the Debtor and her father relating to a potential fraudulent transfer. The Trustee had

hired R. Brian Wooldridge, with the Court’s approval, to assist him in prosecuting

that matter. Total general unsecured claims in the case were $52,091.70.

      The Trustee filed his Final Report and Application for Compensation on April

27, 2017. In the application, the Trustee requested the following:

      1. Compensation in the amount of $5,750 and expenses of $19.95 to
         James G. Baker as Trustee;
      2. Compensation in the amount of $1,917.50 and expenses of $99.79
         to James G. Baker as attorney for the Trustee;
      3. Compensation in the amount of $960 and expenses of $39.85 to
         Stonebridge Accounting & Forensics, LLC, as accountants for the
         Trustee; and
      4. Compensation in the amount of $15,177.50 and expenses of
         $611.75 to R. Brian Wooldridge as attorney for the Trustee.


      The Debtor filed an objection to the Trustee’s Final Report and Application

for Compensation on May 18, 2017. The Debtor argued that she had always

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intended to settle the fraudulent transfer matter, and, therefore, Mr. Wooldridge

should not be compensated for time he spent preparing an adversary proceeding for

filing. The Debtor withdrew this objection at 4:39 PM on May 23, 2017, the day

before the scheduled hearing on the Trustee’s Final Report and Application for

Compensation.

      At 5:55 PM on May 23, 2017, Mr. Wooldridge, on behalf of the Trustee, filed

a response to the Debtor’s objection. In the response, Mr. Wooldridge goes into

detail concerning his interactions with the Debtor’s counsel regarding the fraudulent

transfer matter. In particular, Mr. Wooldridge contends that neither he nor the

Trustee received any settlement offers before he prepared the adversary proceeding.

He also notes that the deadline to file the action was approaching.          Having

presented his arguments, Mr. Wooldridge requests that the Court impose Mr.

Wooldridge’s costs of preparing the response on the Debtor and her counsel

pursuant to Federal Rule of Bankruptcy Procedure 9011.

      These matters were heard on May 24, 2017, at 10:10 AM. After hearing from

representatives from the parties, the Court took the matters under advisement. The

Court now concludes as set forth below.


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                                     Discussion

A. The Trustee’s Final Report and Application for Compensation

      The Debtor’s objection to the Trustee’s Final Report and Application for

Compensation having been withdrawn, there being no other opposition made at the

hearing, and it appearing that the amounts stated in the Trustee’s Final Report and

Application for Compensation are reasonable, the Court will approve the fees and

expenses as requested.

B. The Trustee’s Request for Sanctions

      Turning now to the issue of sanctions, Rule 9011 imposes the baseline of

conduct required of those who submit papers to the Court. An attorney, or an

unrepresented person, who submits a paper to the Court

      is certifying that to the best of the person’s knowledge, information,
      and belief, formed after an inquiry reasonable under the circumstances,
             (1) it is not being presented for any improper purpose, such as to
             harass or to cause unnecessary delay or needless increase in the
             cost of litigation;
             (2) the claims, defenses, and other legal contentions therein are
             warranted by existing law or by nonfrivolous argument for the
             extension, modification, or reversal of existing law or the
             establishment of new law;
             (3) the allegations and other factually contentions have
             evidentiary support or, if specifically so identified, are likely to
             have evidentiary support after a reasonable opportunity for
             further investigation or discovery; and
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             (4) the denials of factual contentions are warranted on the
             evidence or, if specifically so identified, are reasonably based on
             a lack of information or belief.

Fed. R. Bankr. P. 9011(b). If any of those terms are violated, a court may impose

sanctions “upon the attorneys, law firms, or parties that have violated [the Rule] or

are responsible for the violation.” Fed. R. Bankr. P. 9011(c).

      Rule 9011 has specific procedures concerning how a party must initiate an

action for sanctions. When a party desires to request sanctions by motion, the

motion “shall be made separately from other motions or requests and shall describe

the specific conduct alleged to violate [the Rule].” Fed. R. Bankr. P. 9011(c)(1)(A).

Additionally, “[t]he motion for sanctions may not be filed with or presented to the

court unless, within 21 days after service of the motion (or such other period as the

court may prescribe), the challenged paper…is not withdrawn or appropriately

corrected….” Id. This provides a “safe harbor” for parties, and a court cannot

grant a motion for sanctions under Rule 9011 if a party does not comply with this

provision. See Rucker v. Conseco Fin. Servicing Corp. (In re Rucker), 278 B.R.

262, 266 (Bankr. M.D. Ga. 2001) (declining to award sanctions under Rule 9011 in a

situation in which movant had served the motion only a day before filing it with the

court).
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      Here, the Trustee has not complied with the safe harbor provision. The

certificate of service attached to the Trustee’s filing shows that it was served on May

23, 2017, the same day it was filed with the Court. And even if he had waited, the

request for sanctions was not made independently of other requests, and, by the time

the Trustee filed his response, the Debtor had withdrawn the “challenged paper.”

Consequently, the Court will not consider sanctions under Rule 9011.

      However, this does not preclude the Court from considering whether to

impose sanctions pursuant to its inherent powers. See In re Rucker, 278 B.R. at

266-67. Among a court’s inherent powers is the “power to assess attorney’s fees

against a party or counsel that has acted in bad faith, vexatiously, wantonly, or for

oppressive reasons.” Id. at 267. Espousing a frivolous argument constitutes bad

faith, as does making even a meritorious claim solely for the purpose of harassment.

See Walker v. Clearpoint Fin. Solutions, Inc. (In re Walker), 414 B.R. 787, 791

(Bankr. M.D. Fla. 2009). Therefore, if the Court finds that the Debtor’s objection to

the Trustee’s Final Report and Application for Compensation was frivolous or filed

purely as a means of harassing the Trustee, the Court may impose the Trustee’s costs

in defending himself on the Debtor and her counsel.

      An argument is frivolous when it lacks a reasonable basis in fact, or is “based
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on a legal theory that has no reasonable chance of success and that cannot be

advanced as a reasonable argument to change existing law.” See Didie v. Howes,

988 F.2d 1097, 1104 (11th Cir. 1993) (discussing frivolity in the context of Federal

Rule of Civil Procedure 11).       Concerning factual inadequacy, sanctions are

appropriate in situations in which the party has exhibited “a ‘deliberate indifference

to obvious facts,’” but “they are not warranted when the [party’s] evidence is merely

weak.” Baker v. Alderman, 158 F.3d 516, 524 (11th Cir. 1998) (quoting Davis v.

Carl, 906 F.2d 533, 537 (11th Cir. 1990)).

      Considering these requirements, the Court does not find that the Debtor or her

counsel acted with bad faith sufficient to warrant the imposition of sanctions. The

Debtor’s objection was not so unfounded or lacking a basis in law as to be frivolous.

The Debtor was objecting to the reasonableness of Mr. Wooldridge’s fees in light of

alleged settlement negotiations. This is not so far-fetched of an objection as to

constitute bad faith. While the Trustee’s response to the objection and the emails

attached to his response, which were admitted into the record without objection,

make a case that the Debtor’s allegations are weak, those allegations are not without

any legitimacy, particularly when one considers that determining “reasonableness”

is necessarily a case-by-case and fact-intensive inquiry. See generally Taylor v. Des
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Moines Savs. and Loan Ass’n (In re Urban Am. Dev. Co.), 564 F.2d 808, 809 (8th

Cir. 1977) (“What constitutes ‘reasonable compensation’ depends in each case on

the facts and circumstances concerning the trustee’s services and the particular

reorganization proceeding.”).

      Concerning a basis in law, the Debtor’s standing to make the objection is an

issue due to the fact that there are no surplus funds in this case in which the Debtor

could claim an interest.    See In re Matthews, No. 10-96519-MGD, 2014 WL

1277874, at *3 (Bankr. N.D. Ga. Mar. 11, 2014) (Diehl, J.) (“Courts generally agree

that a debtor has no standing to object to the manner in which the trustee administers

the bankruptcy estate, except in the case where a surplus is in prospect.”); see also

Baker, 158 F.3d at 524 (footnote omitted) (“Sanctions may be appropriate when the

plain language of an applicable statute and the case law preclude relief.”).

However, the Debtor owes a non-dischargeable student-loan debt, which some

courts have concluded would give her standing. See In re Matthews, 2014 WL

1277874, at *3 (noting the disagreement between courts on that question). Thus,

whether the Debtor had standing was at least an open question.

      Finally, as to intent to harass, the Court is not convinced that the Debtor has

acted in bad faith in filing the objection. Consequently, the Court declines to
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impose sanctions.

                                    Conclusion

      In accordance with the foregoing, it is hereby ORDERED that compensation

in the amount of $5,750 and expenses of $12.95 are allowed to James G. Baker as

trustee; compensation in the amount of $1,917.50 and expenses of $99.79 are

allowed to James G. Baker as attorney for the trustee; compensation in the amount of

$960 and expenses of $39.85 are allowed to Stonebridge Accounting & Forensics,

LLC, as accountants for the trustee; and compensation of $15,177.50 and expenses

of $611.75 are allowed to R. Brian Wooldridge as attorney for the trustee.

      IT IS FURTHER ORDERED that the Trustee’s Request for Sanctions is

DENIED.

                              END OF DOCUMENT




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Distribution List

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